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                                      NOTICE OF DEFICIENCY

To:       Dominick Smith

Case No.: 1:19-cv-00145


         General
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         &RYHUVKHHWQRWLQFOXGHG
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         $GGUHVVLQIRUPDWLRQVKRXOGQRWKDYHEHHQHQWHUHG
         ,QFRUUHFWFDXVHRIDFWLRQFKRVHQ
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         2WKHU See below                                                   ✔




      Action to be taken: In future filings, please make sure to save or print fillable documents to PDF.




         Informational only:            ✔
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